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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )     Case No. 15 CR 515-1
         v.                                    )
                                               )     Judge John Z. Lee
ALBERT ROSSINI,                                )
                                               )
               Defendant.                      )


                     MEMORANDUM OPINION AND ORDER

         A jury convicted Albert Rossini of multiple counts of mail fraud and wire

fraud. Rossini now requests that this Court grant him a new trial as well as an

evidentiary hearing with respect to that request [448]. Rossini also has filed an ex

parte motion for a court-appointed investigator [492] [493]. For the reasons stated

herein, these motions are denied.

                                     Background

         In August 2015, a grand jury returned an indictment against Rossini and

others alleging the operation of a Ponzi scheme that defrauded investors of millions

of dollars and charging numerous counts of mail fraud and wire fraud in violation of

18 U.S.C. §§ 1341 and 1343. ECF No. 1. In June 2018, trial was held as to Rossini,

who was represented by attorneys Joshua Adams and Scott Frankel.

I.       The Evidence at Trial

         The government presented extensive evidence at trial regarding Rossini’s

involvement in the creation and operation of a scheme to defraud numerous
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investors.   First, the jury heard testimony from nine individual investors and

received the testimony of a tenth by stipulation. See Trial Tr., ECF Nos. 354–59, at

19–90, 131–74, 205–62, 282–99, 306–54, 365–91, 397–431, 466–536, 745–95, 863–

64.   These investors testified that they gave Rossini money in return for the

acquisition of mortgage notes for Chicago-area apartment buildings in or near

foreclosure. Rossini had told some of these investors that he already possessed the

notes, see, e.g., id. at 755, 777–78, while telling others he would use their money to

obtain them, see, e.g., id. at 27, 36.

       Rossini stated to the investors that he or his company—Devon Street

Investments—would complete the foreclosure process for the properties, at which

point the investors would obtain the titles to the properties. See, e.g., id. at 215,

290, 315–16, 378–79, 401–02, 754–55. In the meantime, Rossini said, he and/or his

partners would collect rents from the tenants at the buildings and forward the

funds to the investors. See, e.g., id. at 41–43; 155–57, 215, 286, 290, 317, 378–79,

401, 754–55. He also promised the investors that he would refund their money in

the event he was unable to obtain title to the properties. See, e.g., id. at 27, 37, 291,

402. Each investor received a “Guaranty Agreement” from Rossini that documented

these representations. See, e.g., id. at 36–37; 144–45, 290, 321–22, 475–76, 757.

       Although the investors typically would receive the rental payments from

Rossini for a year or so, the payments became irregular and eventually ceased

altogether without any satisfactory explanation. See, e.g., id. at 67–70; 158–60, 256,

295–99, 384–91, 425–431, 760–62.          And although Rossini had promised the



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investors that he would refund their investments, he failed to do so for all but one

investor. See id. at 348–54. Moreover, only two of the investors ever received the

titles to any of the properties. See Gov. Ex. Chart 1, ECF No. 462-3, at 9.

        The jury also received many exhibits in evidence.     For example, property

records from the Cook County Record of Deeds showed that, at the time Rossini took

each of the investors’ funds, he had no recorded interest in any of the mortgage

notes for which he was soliciting investment money, and that he never obtained an

interest in any of those mortgage notes afterwards. See generally Gov. Ex. Chart 1

at 9.   Rossini eventually did obtain titles to six of the fifty-seven properties in

question, but he directly purchased them following pressure from investors, rather

than acquiring them through foreclosure as he had claimed.

        The documentary evidence presented to the jury also included various

written communications Rossini sent to investors in which he made false

statements about the properties in question. For instance, despite lacking an actual

interest in any of the properties or any involvement in their management, Rossini

sent fact sheets to the investors for each property claiming to detail the rental

status of all the units in each building and the rental income the investor would

receive. See, e.g., Gov. Ex. AmPithyou 5, ECF No. 462-3, at 2; Gov. Ex. Badalian 1,

ECF No. 462-3, at 4; Gov. Ex. Younan 1, ECF No. 462-3, at 44. And although

Rossini had no recorded interests in any of the mortgage notes, Rossini gave each

investor a “Guaranty Agreement” stating that he had obtained “written

assignments of the right to acquire . . . the existing notes and mortgages from the



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lender.” See Gov. Ex. Badalian 3, ECF No. 462-3, at 8; Gov. Ex. Younan 3, ECF No.

462-3, at 45. Through documents such as these, the jury learned of many instances

in which Rossini made significant misstatements to investors about material

matters, such as the foreclosure status of the properties or negotiations he said he

was having with property owners. See, e.g., Gov. Ex. Younan Transcript, ECF No.

462-3, at 25, 29, 41; Gov. Ex. Younan 10, ECF No. 462-3, at 47; Gov. Ex.

Moghaddasi 17, ECF No. 462-3, at 10–22.

      In addition to the testimony from investors and the documentary evidence,

the jury heard testimony from Thomas Murphy, a co-schemer who had pleaded

guilty to his involvement in the fraud. Murphy testified that, in 2011, he was an

attorney who performed several services for Rossini in connection with the

investment program, including incorporating business entities, Trial Tr. at 573–75,

drafting documents Rossini could give investors, id. at 600–03, and receiving and

dispersing the investors’ funds at Rossini’s direction, id. at 577, 582–84, 586–90,

596. Murphy added that Rossini sued him in 2013, claiming that Murphy had

purloined investors’ funds, only to confide in him later that the lawsuit was a sham

designed to placate complaining investors. Id. at 645–48. Murphy also testified

that, after Rossini filed the sham lawsuit, Rossini secretly worked with Murphy to

receive and disperse over $800,000 in additional funds from a specific investor. Id.

at 652–57.

      Finally, the jury received bank and currency exchange records and heard

testimony from FBI forensic accountant Sandra Prescott, who performed a



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comprehensive financial analysis of the evidence. This evidence revealed that, in

total, investors gave Rossini more than $7 million. Trial Tr. at 821. Although

investors received back approximately $2.5 million in so-called “rent” payments,

there was no rental income coming into any of the relevant accounts; the money

paid to investors was simply their own funds being paid back to them. Id. at 823.

Moreover, while investors lost approximately $5 million, Rossini made at least

$2.55 million from the scheme, of which Rossini transacted approximately $2

million at currency exchanges. Id. at 828; Gov. Ex PC Currency Exchange, ECF No.

462-3 at 23. Of the $7 million paid by investors, the evidence showed that Rossini

used only approximately $200,000 toward the acquisition of real estate. Trial Tr. at

824.

       On June 14, 2018, a jury found Rossini guilty of all fourteen counts listed in

the indictment. ECF Nos. 345 and 346.

II.    Rossini’s Subsequent Motions

       On August 23, 2018, attorneys Joshua Adams and Scott Frankel were

granted leave to withdraw as counsel for Rossini. ECF No. 372. On September 12,

2018, the Court appointed Richard Kling as Rossini’s counsel, ECF No. 386, and,

several months later, Rossini filed the instant motion for new trial alleging that

Adams and Frankel had provided him with ineffective assistance of counsel, ECF

No. 448. Rossini also seeks an evidentiary hearing in connection with his motion

for a new trial. Id. Moreover, though the Court in December 2018 granted Rossini’s

ex parte motion for funds under the Criminal Justice Act for an investigator in



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     relation to his motion for a new trial, see ECF No. 400; ECF No. 411, he seeks

     approval to retain yet another investigator. See ECF Nos. 492, 493.

                                            Analysis

I.        Rossini’s motion for a new trial.

              Rossini moves for a new trial, pursuant to Federal Rule of Criminal

     Procedure 33, claiming that he was denied effective assistance of counsel as

     promised by the Sixth Amendment. The motion is denied.

     A.       Legal Standard

              Rule 33 provides in relevant part that “the court may vacate any judgment

     and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33.

     “[C]ourts have interpreted the rule to require a new trial . . .      in a variety of

     situations in which the substantial rights of the defendant have been jeopardized by

     errors or omissions during trial.” United States v. Kuzniar, 881 F.2d 466, 470 (7th

     Cir. 1989). But “[a] jury verdict in a criminal case is not to be overturned lightly,

     and therefore a Rule 33 motion is not to be granted lightly.”        United States v.

     Santos, 20 F.3d 280, 285 (7th Cir. 1994); see also United States v. Hagler, 700 F.3d

     1091, 1101 (7th Cir. 2012) (stating that ordering a new trial under Rule 33 “is

     reserved for only the most extreme cases” (emphasis added) (quoting United States v.

     Linwood, 142 F.3d 418, 422 (7th Cir. 1998))).

              To establish ineffective assistance of counsel, a claimant must show that (1)

     counsel’s representation fell below “an objective standard of reasonableness,”

     thereby failing to function as the “‘counsel’ guaranteed the defendant by the Sixth



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Amendment,” and (2) that the claimant suffered prejudice as a result. Strickland v.

Washington, 466 U.S. 668, 687–88 (1984). “This is not an easy standard to satisfy.”

Jordan v. Hepp, 831 F.3d 837, 846 (7th Cir. 2016). “Counsel is strongly presumed to

have rendered adequate assistance and made all significant decisions in the

exercise of reasonable professional judgment.” Id. (quoting Strickland, 466 U.S. at

690). Along these lines, the Court’s review of counsel’s performance must be “highly

deferential” and “every effort [must] be made to eliminate the distorting effects of

hindsight, to reconstruct the circumstances of counsel’s challenged conduct, and to

evaluate the conduct from counsel’s perspective at the time.” Strickland, 466 U.S.

at 689.   The inquiry is then “whether, in light of all the circumstances, the

identified acts or omissions were outside the wide range of professionally competent

assistance.” Id. at 690 (emphasis added).

      Additionally, “[s]ufficient ‘prejudice’ requires that ‘there [be] a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.’”     Jordan, 831 F.3d at 846 (alteration in original)

(quoting Strickland, 466 U.S. at 694). “In weighing the effect of counsel’s errors, the

court must consider the totality of the evidence before the judge or jury.

Consequently, a verdict or conclusion that is overwhelmingly supported by the

record is less likely to have been affected by errors than one that is only weakly

supported by the record.” Mosley v. Atchison, 689 F.3d 838, 851 (7th Cir. 2012)

(quoting Hough v. Anderson, 272 F.3d 878, 891 (7th Cir. 2001)).




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B.       Analysis

         Rossini first argues that his trial attorneys were deficient because, he alleges,

“neither . . . discussed with him his right to testify at trial, nor did either . . .

prepare him to testify.” Mot. for New Trial at 2. Similarly, Rossini asserts, the only

reason he did not testify at trial was because “he was not prepared by his

attorneys.” Id. But this argument fails to establish any deficiency by Rossini’s trial

attorneys since it is premised on assertions that are at odds with the trial record.

Specifically, on June 11, 2018—the last day of the government’s case-in-chief—the

Court directly raised the issue of whether Rossini would be testifying. Trial Tr. at

856. Adams advised the Court in Rossini’s presence, “I spoke with Mr. Rossini as

late as yesterday afternoon.         I went and visited him at the [Metropolitan

Correctional Center] for approximately an hour. We discussed whether or not he

wishes to testify.     And I spoke with him this morning at the break.           It’s Mr.

Rossini’s wish that he unconditionally wishes to waive his right to testify in his own

defense. We discussed the pros and cons, and that is his wish.” Id. at 856–57.

         The Court then addressed Rossini directly, and Rossini confirmed that he

understood that he had the right to testify in his own defense, that he decided to

waive that right after discussion with his attorneys, and that he had reached that

decision voluntarily, based upon his own free will and without any pressure. Id. at

857–58. Accordingly, this argument is unpersuasive. Cf. Ingram v. United States,

553 F. Supp. 2d 975, 978 (N.D. Ill. 2008) (dismissing certain arguments that trial

counsel was deficient where those arguments were “contradicted by the record”).



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      Rossini also contends that his trial attorneys were deficient because they

allegedly visited him only a handful of times, and for limited durations, while he

was in pretrial detention. See, e.g., Mot. for New Trial at 2 (“Mr. Rossini claims

that . . . he was only visited four times for about fifteen minutes each while detained

in Kankakee Correctional Center between July 28, 2017 and May 9, 2018.”). But, in

addition to visiting Rossini while he was in pretrial detention, his attorneys

separately met with Rossini “several times for several hours to discuss the case,” Tr.

of Proceedings as to Rossini held on 6/4/18, ECF No. 451, at 7, and also reviewed

“numerous communications through the mail” that Rossini had sent them “while he

was at [the detention facility] regarding the case, forms of letters and documents.”

Id. What is more, Rossini’s trial attorneys engaged in extensive pretrial litigation,

raising numerous motions in limine and severance issues, see, e.g., ECF Nos. 285,

286, 287, 288, 296, 318. See United States v. Best, 426 F.3d 937, 945 (7th Cir. 2005)

(stating that “[w]hether deficient performance occurred” “depends on facts like

counsel’s overall diligence” (emphasis added)).     Accordingly, the record provides

little support for Rossini’s suggestion that his attorneys neglected him or his case.

      Rossini next takes issue with the approach his trial attorneys took with

respect to certain witnesses. Specifically, he claims that during trial he “slipped his

attorneys notes” requesting that they contact several witnesses that could

purportedly “clarify and contradict the statements that the [government’s]

witnesses made at trial.” Mot. for New Trial at 3. Rossini says that his attorneys

did not call those witnesses, and also claims that his trial attorneys did not “contact,



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interview, or subpoena any witnesses despite Mr. Rossini providing his attorneys

with a list of witnesses and contacting them on multiple occasions about these

potential witnesses.” Mot. for New Trial at 4.

      Other than stating that he provided a list of potential witnesses to his

attorneys during the trial, Rossini does not specify any other occasions when he did

so. And Rossini would be hard-pressed to attempt to rely on any failure by his

attorneys to pursue the potential witnesses mentioned to them at trial to support an

ineffective assistance of counsel claim, since “Strickland . . . permits counsel to

make a reasonable decision that makes particular investigations unnecessary.

Resources are limited, and trial counsel must eventually shift from pretrial

investigation to trial preparation.” Campbell v. Reardon, 780 F.3d 752, 765 (7th

Cir. 2015) (internal quotation marks omitted) (quoting Strickland, 466 U.S. at 691);

see also Rutledge v. United States, 230 F.3d 1041, 1050 (7th Cir. 2011) (“Whether a

decision to forego more investigation is reasonable is analyzed from the perspective

of counsel at the time of the decision and in light of all the circumstances.”

(emphasis added)). Indeed, the trial record indicates that Rossini’s trial attorneys

were broadly receptive and thoughtful, rather than unduly dismissive, when

assessing requests made by Rossini during trial.      See, e.g., Trial Tr. at 894–95

(Adams telling the Court, following the conclusion of the government’s case-in-chief,

that he was not sure whether the defense would also rest because “[t]here are

checks Mr. Rossini wishes us to introduce related to other properties.       And he

wishes us to look into that, introduce those into evidence. . . . And if in our legal



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opinion they are relevant to the case, then we will move to introduce them on

Wednesday.”).

        Moreover, even if Rossini had provided a list of potential witnesses to his

attorneys before trial, the Court is not persuaded that the failure to contact these

potential witnesses necessarily constituted deficient performance. While “[f]ailure

to conduct any investigation regarding potentially exculpatory witnesses certainly

would constitute deficient performance,” United States v. Simpson, 864 F.3d 830,

835 (7th Cir. 2017), the failure to contact a potential witness is not necessarily the

same as a failure to conduct any investigation with respect to that witness. That is,

Rossini’s trial attorneys may have assessed whether these witnesses could help

their client’s defense and reasonably concluded otherwise. To this point, and as the

government points out in its response, defense counsel was aware through FBI

reports produced during discovery that several of the individuals that Rossini now

identifies—including Craig Shaffer, Lisa Rosen, and Richard Kruse—might have

provided inculpatory evidence.1 See FBI Report of Interview with Craig Shaffer,

ECF No. 462-5; FBI Report of Interview with Lisa Rosen, ECF No. 462-6; FBI

Report of Interview with Richard Kruse, ECF No. 462-7; see also Rutledge, 230 F.3d

at 1050 (stating that interviewing witnesses with knowledge of the defendant’s

criminal activity to get exculpatory information “would have been fruitless, and

counsel’s decision not to do so is objectively reasonable.”).


1      Rossini’s contention that his trial attorneys could not reasonably decide against
pursuing certain witnesses for trial on the basis of information discovered in FBI 302
reports is unsupported and unpersuasive. See, e.g., Def.’s Reply to Gov.’s Resp. to Mot. for a
New Trial, ECF No. 476, at 7.

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      That said, even assuming that Rossini’s trial attorneys were constitutionally

deficient by failing to contact Rossini’s list of potential witnesses, the Court

nevertheless finds that Rossini has made no colorable showing of prejudice.

Significantly, Rossini offers virtually no affidavits or actual statements from those

potential witnesses as to how they would have testified; instead, Rossini simply

offers his own thoughts as to what those individuals might have said at trial. This

is insufficient to establish a viable ineffective-assistance claim. See United States v.

Ashimi, 932 F.2d 643, 649 (1991) (stating that, in order to consider a claim of

ineffective assistance based on allegedly deficient investigation, the Court “must

know what the attorney would have discovered after ‘adequate’ investigation”);

Wright v. Gramley, 125 F.3d 1038, 1044 (7th Cir. 1997) (“In the case of an uncalled

witness, we have held that at the very least the [ineffective-assistance-of-counsel

claimant] must submit an affidavit from the uncalled witness stating the testimony

he or she would have given had they been called at trial.”); Jordan v. United States,

No. 12 CV 529, 2014 WL 1464218, at *3 (N.D. Ind. April 15, 2014) (“As to his

daughters’ testimony, Jordan has offered no affidavits from his daughters to

support what testimony they would have offered if called as witnesses. We have

only Jordan’s word as to how they might have testified, and such speculation is

insufficient to support an ineffective assistance claim.”); cf. Simpson, 864 F.3d at

835 (referring, in conducting a prejudice analysis as to a trial attorney’s possible

failure to conduct any investigation with respect to the defendant’s proposed




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witnesses, to statements made by those witnesses in notarized letters that were

attached to defendant’s motion for a new trial).

      The sole affidavit from an uncalled witness that Rossini provides in support

of his motion for a new trial is that of Meir Rotstein.        See Mot. for a Court-

Appointed Investigator, ECF No. 492, at 11. In this short affidavit, Rotstein states,

inter alia, that he was an employee of Rossini’s Devon Street Investments in 2011,

2012, and 2013, and refutes the government’s claim that Rotstein had told the FBI

that he never saw Rossini close any transactions of any kind in the years he worked

with him. See Resp. to Mot. for a New Trial, ECF No. 462, at 24; Mot. for a Court-

Appointed Investigator at 11 (“To the best of my recollection I did not state this to

the FBI agent or anyone questioning me.”).          Even read generously, however,

Rotstein’s affidavit alleges little more than that Rossini’s Devon Street Investments

occasionally conducted, or appeared to conduct, legitimate business, which is not

inconsistent with the government’s theory of the case.         See Mot. for a Court-

Appointed Investigator at 11 (“I have personal knowledge of [Devon Street

Investments]’s office staff routinely and in the course of daily business creating

offers to purchase Mortgages, Notes, short sales and properties. Often those offer[s]

[were] sent via [Devon Street Investments]’s facsimile machine to various banks

and Attorneys.”). As a result, Rotstein’s affidavit does not support Rossini’s claim

that he was prejudiced by his attorneys’ failure to present Rotstein at trial.

      Witnesses aside, Rossini also argues that he was denied the effective

assistance of counsel because his attorneys failed to introduce certain documents in



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evidence at trial, specifically (a) Rossini’s federal tax audit and return, (b) checks

from Murphy to Devon Street Investments that bounced due to insufficient funds,

and (c) Devon Street Investments’s insurance policies with Mount Vernon

Insurance. The Court rejects this argument for two reasons.

      First, the trial record indicates that the decision to withhold these documents

was a deliberate, strategic decision rather than one of neglect. After the close of the

government’s case-in-chief, Frankel informed the Court that the defense expected to

rest as well, but stated that he wanted to wait until the next day “based on things

Mr. Rossini wants to look into.” Trial Tr. at 894. The Court then brought Rossini

up to the side bar, and Frankel repeated that the defense was seeking an extra day

“to complete the possibility of this investigation,” which Frankel described as a

“late-breaking matter.” Id. Adams further explained that “[t]here are checks Mr.

Rossini wishes us to introduce related to other properties. And he wishes us to look

into that, introduce those into evidence. . . . And if in our legal opinion . . . they are

relevant to the case, then we will move to introduce them on Wednesday.” Id. at

894–95.

      At the beginning of the next trial day, Adams followed up, stating, “I received

some documents yesterday from Mr. Rossini’s family regarding checks and other

documents he wishes me to introduce into evidence. I’ve spoken to Mr. Rossini

about it and spoken to Mr. Frankel. And it’s in our independent judgment and legal

opinion that such documents would be harmful and detrimental to his case. And we

think that it is best that we do not introduce them into evidence. I’ve spoken to Mr.



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Rossini about that, and I intend to rest. I just want to make sure – make that on

the record. I’d like Mr. Rossini to acknowledge he’s heard that.” Tr. at 922–23.

Rossini proceeded to acknowledge having that conversation. Id. at 923. Rossini

offers no persuasive argument as to why his attorneys’ decision to omit these

documents from evidence because they were “harmful and detrimental to his case,”

id. at 922, fell outside of the “wide range of professionally competent assistance.”

Strickland, 466 U.S. at 690 (emphasis added); see also id. at 690–91 (“[S]trategic

choices made after thorough investigation of law and facts relevant to plausible

options are virtually unchallengeable.”).

      Second, the Court also concludes that Rossini has not shown that he was

prejudiced as a result of his attorneys’ decision given the overwhelming amount of

testimonial and documentary evidence presented by the government at trial that

demonstrated Rossini’s involvement in the creation and operation of the criminal

scheme at issue in this case. See Mosley, 689 F.3d at 850 (“[A] verdict or conclusion

that is overwhelmingly supported by the record is less likely to have been affected

by errors than one that is only weakly supported by the record.” (quoting Hough,

272 F.3d at 891)).

      Finally, the Court is not persuaded by Rossini’s remaining arguments as to

his ineffective assistance of counsel claim.     First, his argument that his trial

attorneys were unprepared for his bond revocation hearing, see Mot. for a New Trial

at 2, 9, is presented in conclusory terms and does not demonstrate how that alleged

conduct establishes that his attorneys were unprepared for trial. To the contrary,



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      based upon the conduct of Rossini’s counsel at trial, the Court believes that they

      were well-prepared to present his defense.

            Next, Rossini’s contention that his attorneys were deficient because they

      “failed to hire a forensic accountant to rebut and explain the Government’s theories

      of how Mr. Rossini allegedly defrauded investors,” Mot. for New Trial at 8, is

      presented in a cursory manner without any citation to facts or legal authority, and

      is thus waived.    See Mahaffey v. Ramos, 588 F.3d 1142, 1146 (7th Cir. 2009)

      (“Perfunctory, undeveloped arguments without discussion or citation to pertinent

      legal authority are waived.”).     Likewise undeveloped is Rossini’s abbreviated

      contention that his attorneys were ineffective because they told him on the opening

      day of his trial that they “intended to call [FBI] agents Lyle Evans and Jody Blau”

      but eventually decided not to do so.” Mot. for New Trial at 3.

            For all of these reasons, Rossini’s motion for a new trial pursuant to Rule 33

      is denied.

II.      Rossini’s request for an evidentiary hearing in connection with his
         motion for a new trial.

            Rossini’s request for an evidentiary hearing in connection with his motion for

      a new trial is likewise denied.    In his motion, Rossini contends that “[u]pon a

      defendant filing a timely motion for a new trial under Rule 33 claiming that trial

      counsel provided constitutionally ineffective assistance, a district court must order

      an evidentiary hearing.” Mot. for New Trial at 11. He offers no valid support,

      however, for this proposition. This is unsurprising, as the law places the decision of

      whether to hold an evidentiary hearing squarely within the district court’s

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discretion. See United States v. Berg, 714 F.3d 490, 501 (7th Cir. 2013). And while

it is true that claims of ineffective assistance of counsel “often” require an

evidentiary hearing because “they frequently allege facts that the record does not

fully disclose,” Osagiede v. United States, 543 F.3d 399, 408 (7th Cir. 2008), “if there

is no reason to suppose that a hearing would produce evidence justifying the grant

of a new trial, there is no reason to hold a new hearing,” United States v. Taglia,

922 F.2d 413, 419 (7th Cir. 1991). Conservation of judicial resources is a proper

basis to deny a request for an evidentiary hearing. See United States v. Osborne,

931 F.2d 1139, 1164 (7th Cir. 1991) (“[T]he trial court properly exercised its

discretion and good judgment when it refused to waste more of the court’s valuable

time to hold a special evidentiary hearing.”).

      Given the trial record, the Court concludes that “there is no reason to suppose

that a hearing would produce evidence justifying the grant of a new trial,” Taglia,

922 F.2d at 419, because the Court concludes that Rossini has not “allege[d] a

colorable ineffective-assistance-of-counsel claim,” Simpson, 864 F.3d at 834.        As

explained, Rossini’s claims that his attorneys provided constitutionally deficient

representation is not supported by the record.        In fact, rather than providing

grounds for Rossini’s claims, the record (both before and during the trial)

demonstrates that his attorneys were well-prepared, communicated regularly with

him, and considered Rossini’s suggestions when crafting his defense. Given this

and the large amount of evidence at trial regarding Rossini’s participation in the




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       fraudulent scheme, the Court finds in its discretion that an evidentiary hearing is

       not necessary and would result in a waste of judicial resources.

III.      Rossini’s request for a court-appointed investigator.

             Finally, Rossini’s ex parte motion for a court-appointed investigator in

       connection with his motion for a new trial is denied. As Rossini acknowledges, in

       December 2018, the Court granted a previous motion requesting funds under the

       Criminal Justice Act for an investigator to prepare his motion for a new trial. See

       Ex-Parte Mot. for Funds Under the CJA for an Investigator, ECF No. 400; Ex Parte

       Order Granting Mot. for Funds under the CJA for an Investigator, ECF No. 411; see

       also Mot. for a Court-Appointed Investigator at 1–2 (noting that Rossini, through

       his former counsel, and current standby counsel, Richard Kling, had “previously

       requested and received permission for the Court appointment of an investigator”

       and requesting that the Court now “enter an order allowing [Rossini] the use of [the

       investigator] . . . on the same terms and conditions as previously permitted

       [Rossini’s] defense counsel.” (emphasis added)). So, Rossini already had the chance

       to investigate this matter using a private investigator. The fact that Rossini may

       not be satisfied with the results of the investigation does not compel more.


                                           Conclusion

             For the foregoing reasons, Rossini’s motion for a new trial and request for an

       evidentiary hearing with respect to that motion [448], and his ex parte motion for a

       court-appointed investigator [492] [493], are denied.




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IT IS SO ORDERED.                                 ENTERED: 1/28/20



                                                  ______________________________
                                                  John Z. Lee
                                                  United States District Judge




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